 8:24-cr-00079-RFR-RCC             Doc # 45   Filed: 03/31/25   Page 1 of 1 - Page ID # 70




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                    8:24CR79
       v.

CODY DEMELLE,                                                        ORDER

                      Defendant.


       This matter is before the Court on the Motion to Continue Trial (Filing No. 44).
Counsel needs additional time to exchange expert opinions and pursue plea negotiations. For
good cause shown,

       IT IS ORDERED that the Motion to Continue Trial (Filing No. 44) is granted as
follows:

       1.     The jury trial now set for May 27, 2025, is continued to June 23, 2025.

       2.     In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of
              justice will be served by granting this continuance and outweigh the interests of
              the public and the defendant in a speedy trial. Any additional time arising as a
              result of the granting of this motion, that is, the time between today’s date and
              June 23, 2025, shall be deemed excludable time in any computation of time
              under the requirement of the Speedy Trial Act. Failure to grant a continuance
              would deny counsel the reasonable time necessary for effective preparation,
              taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
              (B)(iv).

       3.     No further continuances will be granted barring exceptional circumstances.

       Dated the 31st day of March 2025.

                                                   BY THE COURT:




                                                   Robert F. Rossiter, Jr.
                                                   Chief United States District Judge
